Case 2:05-cr-20177-SH|\/| Document 69 Filed 06/09/05 Page 1 of 2 Page|D 78

Fnso sy-
uNITED sTATEs olsTRICT CouRT ~ D-C.
FoR THE WESTERN DlsTRICT oF TENNEssEE 05 JUH _9 p
WEsTERN DIvIsloN M 3= 38
sos
LJ;FE_;§ET §l; 1 §§ ;PULL;“J
uNITED sTATEs oF AMERICA, ) ’ \J' fit :,»EV:m-~ns'
)
Plaintiff, )
)
vs. ) No.: 205CR20177~01 Ma
)
CHARLEs PRICE, )
)
Defendant. )

 

CONSENT ORDER ALLOWING SUBSTITUTION OF COUNSEL

 

It appearing to the Court, that by consent 01" the parties, that Tony L. Axam should be
substituted for Bernie Weinman as counsel of record in this cause for the defendant, Charles Price.
IT IS THEREFORE, ORDERED, ADJUDGED AND DECREED, that Tony L. Axam shall
be and hereby is substituted for Bernie Weinman as counsel of record in this cause for the defendant,

Charles Price.

jt m
Entered this § day of , 2005.

f@./{,W f @HWV

JUDGE

qnce
'his door mem entered on the docket sh /3 1 Of 2
mill nu' c 55 and;'or 3200 b)FP.CrF on age

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 69 in
case 2:05-CR-20177 Was distributed by faX, mail, or direct printing on
June 13, 2005 to the parties listed.

 

 

Benard Weinman

LAW OFFICE OF BENARD WEINMAN
275 Jefferson Ave

1\/lemphis7 TN 38103

Pamela B. Hamrin

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

1\/lemphis7 TN 38103

Thomas A. Colthurst

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

1\/lemphis7 TN 38103

Tony L. AXam

LAW OFFICE OF TONY L. AXAM
1280 W. Peachtree St.

Ste. 3 10

Atlanta, GA 30309

Handel R. Durham
DURHAM & ASSOCIATES
100 North Main St.

Ste. 2601

1\/lemphis7 TN 38103

Jim B. Johnson

LAW OFFICE OF .T[M B. JOHNSON
253 Adams Ave.

1\/lemphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

